     Case 23-17436     Doc 22     Filed 01/22/24 Entered 01/22/24 11:23:54           Desc Main
                                   Document     Page 1 of 11



                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                       )
                                             )       Chapter 7
SCP MERCHANDISING, LLC,                      )
                                             )       Case No. 23-bk-17436
                       Debtors.              )
                                             )       Adv. Proc. No. ______________
MACKENZIE NIEMETZ, on behalf of              )
themselves and those similarly situated;     )       CLASS ACTION ADVERSARY
                                             )       PROCEEDING COMPLAINT
                                             )
                                             )       Honorable Judge Janet S. Baer
         Plaintiff,                          )
                                             )       JURY TRIAL DEMANDED
v.                                           )
                                             )
                                             )
SCP MERCHANDISING, LLC,                      )
                                             )
      Defendant.                             )
________________________________             )


         Plaintiff MacKenzie Niemetz (they/them), on behalf of themselves and a putative class of

similarly situated former employees as defined herein, brings this suit against Debtor-Defendant

SCP Merchandising, LLC by way of this Class Action and Adversary Proceeding Complaint,

alleging as follows:

                                  NATURE OF THE ACTION

         1.      This is a Class Action Complaint brought under the Worker Adjustment and

Retraining Notification Act, 29 U.S.C. §§ 2101–2109 (the “WARN Act”) and the Illinois WARN

Act, 820 ILCS 65/1 et seq, by the Plaintiff on his own behalf and on behalf of the other similarly




                                                 1
  Case 23-17436        Doc 22     Filed 01/22/24 Entered 01/22/24 11:23:54              Desc Main
                                   Document     Page 2 of 11



situated persons against Defendant SCP Merchandising, LLC, their employer for federal and

Illinois WARN Act purposes.

       2.      On or within 30 days of December 17, 2023, Defendant made a mass layoff by,

unilaterally and without proper notice to employees or staff, terminating approximately 141

employees at its facilities, located at 1020 Olympic Drive, Batavia, Illinois, 60510 and 950

Raddant Road, Batvia, Illinois 60510 (collectively, “Batvia Facilities”).

       3.      Defendant failed to provide 60 days advance written notice to employees or staff

as required by the WARN Act, 29 U.S.C. § 2101 et seq., and the Illinois WARN Act, 820 ILCS

65/10, to the affected employees.

       4.      The last day Plaintiff worked was December 18, 2023, but others were terminated

on December 17, 2023.

       5.      Defendant’s reduction in nearly its entire workforce at that plant constituted a mass

layoff or plant closing, commencing on or around December 17, 2023. As such, Plaintiff and other

similarly situated employees, should have received the full protection afforded by the federal

WARN Act and the Illinois WARN Act.

       6.      Plaintiff’s claims, as well as the claims of all similarly-situated employees, are

entitled to partial administrative expense status pursuant to United States Bankruptcy Code

§ 503(b)(1)(A) and partial, or alternatively, full priority status under 11 U.S.C. § 507(a)(4) and (5),

up to the priority cap, with the balance, if any, being a general unsecured claim.

                                 JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this matter pursuant to 28 U.S.C § 1331 and 29

U.S.C. § 2104(a)(5).


                                                  2
  Case 23-17436        Doc 22    Filed 01/22/24 Entered 01/22/24 11:23:54            Desc Main
                                  Document     Page 3 of 11



       8.      This Court has jurisdiction over the state law claim pursuant to 28 U.S.C. § 1367.

       9.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B), and (O).

       10.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and 29

U.S.C. § 2104(a)(5).

                                            PARTIES

       11.     Plaintiff MacKenzie Niemetz is a citizen of the United States and resident of

Campton Hills, Illinois. Plaintiff Niemetz was employed by Defendant at all relevant times at the

Batavia, Illinois, facility. They were hired by Defendant on or around November 8, 2021. They

are an “aggrieved employee” within the meaning of 29 U.S.C. § 2104(a)(7).

       12.     Defendant SCP Merchandising, LLC, is a limited liability company registered in

Illinois with its principal place of business located at 1020 Olympic Drive, Batavia, IL 60510.

Defendant may be served via its registered agent, Roy D. Winn, 27W140 Roosevelt Road, Suite

201, Winfeld, Illinois 60190-1641.

                                             FACTS

       13.     Defendant is a private, Illinois-based merchandising company that operates

facilities at 1020 Olympic Drive, Batavia, IL 60510, and 950 Raddant Rd. Batvia, IL 60510.

       14.     Fulfillment Operations Manager, Eoin Doherty, called some employees

individually, including Plaintiff, to notify them about the layoffs and ask if they would be willing

to work the following Monday, December 18, 2023. Plaintiff accepted that offer, but Monday,

December 18, 2023, was the last day they were employed.

       15.     Later that same day, Defendant e-mailed all employees that the operation was

closing and their employment would be terminated immediately.


                                                 3
  Case 23-17436         Doc 22    Filed 01/22/24 Entered 01/22/24 11:23:54            Desc Main
                                   Document     Page 4 of 11



        16.      On December 18, 2023, Defendant filed a notice with the Illinois WorkNet Center,

advising that 141 total employees located in the Blasdell, NY plant were terminated on August 10,

2023.

        17.      Defendant did not provide any WARN Act Notice as required by 29 U.S.C. §§ 2101

et seq. even though it planned to abolish, terminate, and/or layoff over one-hundred full-time

employees employed there.

        18.      Upon information and belief, no circumstances existed that would have permitted

Defendant from reducing the notification period as provided in 29 U.S.C. § 2102(b).

        19.      By failing to provide its affected employees who were temporarily or permanently

terminated on or around December 17, 2023, with WARN Act Notices and other benefits,

Defendant acted willfully and cannot establish that it had any reasonable grounds or basis for

believing its actions were not in violation of the statute.

                         RULE 23 CLASS ACTION ALLEGATIONS

        20.      Plaintiff brings his WARN Act claim as a Class Action pursuant to Federal Rule of

Civil Procedure 23 on behalf of the following Nationwide class:

        All employees of Defendant who were terminated pursuant to a mass layoff or plant
        closing (as those terms are defined in the WARN Act) within 90 days of December
        17, 2023.

        21.      Class Action treatment of WARN Act claims is appropriate because all of Federal

Rule of Civil Procedure 23’s Class Action requisites can be satisfied. For example:

              a. The class includes, upon information and belief, over 50 class members, and, as

                 such, is so numerous that joinder of all the class members is impracticable under

                 these circumstances, thereby satisfying Federal Rule of Civil Procedure 23(a)(1).


                                                   4
  Case 23-17436          Doc 22     Filed 01/22/24 Entered 01/22/24 11:23:54             Desc Main
                                     Document     Page 5 of 11



               b. Questions of law and fact are common to the class, including, inter alia, whether

                  Defendant provided adequate notice of its mass layoff under the WARN Act, 29

                  U.S.C. § 2102. Thus, Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(2).

               c. Plaintiff is a member of the class, and his claims are typical of the claims of other

                  class members. Plaintiff has no interests that are antagonistic to or in conflict with

                  the interests of other class members. Thus, Plaintiff satisfies Federal Rule of Civil

                  Procedure 23(a)(3).

               d. Plaintiff will fairly and adequately represent the class and its interests. Moreover,

                  Plaintiff has retained competent and experienced counsel who will effectively

                  represent the interests of the class. Thus, Plaintiff satisfies Federal Rule of Civil

                  Procedure 23(a)(4).

         22.      Class certification is appropriate pursuant to Federal Rule of Civil Procedure

23(b)(1) because the prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications. This would establish incompatible standards of

conduct for Defendant and/or because adjudications with respect to individual class members

would as a practical matter be dispositive of the interests of non-party class members.

         23.      Class certification is appropriate pursuant to Federal Rule of Civil Procedure

23(b)(2) because Defendant acted or refused to act on grounds generally applicable to the Class,

making appropriate declaratory and injunctive relief with respect to Plaintiff and the class as a

whole.

         24.      Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over any question affecting only


                                                    5
  Case 23-17436        Doc 22      Filed 01/22/24 Entered 01/22/24 11:23:54            Desc Main
                                    Document     Page 6 of 11



individual class members, and because a Class Action is superior to other available methods for

the fair and efficient adjudication for this litigation.

                VIOLATIONS OF THE WARN ACT, 29 U.S.C. §§ 2101, et seq.
                                         COUNT I
                                       (WARN Act)
                     (On behalf of Plaintiff and those similarly situated)

        25.     Plaintiff re-alleges and incorporates all preceding paragraphs as if set forth in full

here.

        26.     Defendant is an “employer” within the meaning of the WARN Act, 29 U.S.C

§ 2101(a)(1).

        27.     Plaintiff and those they seek to represent were at all relevant times “affected

employees” within the meaning of the WARN Act, 29 U.S.C § 2101(a)(5).

        28.     The December 17, 2023, permanent layoffs of at least 141 employees at the Batvia

facilities resulted in “employment losses” as defined in 29 U.S.C. § 2101(a)(3)(B)(i)(I) and (II) for

at least 33 percent of the employees and at least 50 employees.

        29.     For purposes of 29 U.S.C. § 2101(a)(3)(B)(i)(I) and (II), the Batvia facilities,

together, constitute a single site of employment in that each employee’s facility was the location

to which relevant employees were assigned as their home base, the place from which their work

was assigned, and the place to which they reported for work.

        30.     The WARN Act requires employers to provide 60-days’ notice of any plant closing

or mass layoff “to each representative of the affected employees . . . or, if there is no such

representative at that time, to each affected employee,” 29 U.S.C. § 2102(a)(1), and “to the State

or entity designated by the State to carry out rapid response activities under [29 U.S.C. §]



                                                    6
  Case 23-17436       Doc 22     Filed 01/22/24 Entered 01/22/24 11:23:54             Desc Main
                                  Document     Page 7 of 11



3174(a)(2)(A),” as well as to “the chief elected official of the local government within which such

closing or layoff is to occur,” 29 U.S.C. § 2102(a)(2).

       31.     On information and belief, prior to December 17, 2023, Defendant did not give any

written notice of the plant closing and/or mass layoff to any “affected employee,” including

Plaintiff and those they seek to represent, as that term is defined in 29 U.S.C § 2101(a)(5). Nor

upon information and belief did Defendant give any prior written notice to the Illinois state agency,

or to the chief elected official of the local government within which the mass layoff was ordered.

Rather, Defendant waited after announcing the mass layoffs already occurred to do so.

       32.     Defendant violated the WARN Act by failing to give timely written notice of the

mass layoff as required by 29 U.S.C. § 2102(a), which began on or about December 17, 2023.

       33.     As such, Plaintiff and those they seek to represent are “aggrieved employees”

within the meaning of the WARN Act, 29 U.S.C. § 2104(a)(7).

       34.     The WARN Act expressly permits an “aggrieved employee” to bring a civil action

individually and on behalf of all those similarly situated to seek relief for violations of the

provisions of 29 U.S.C. § 2102. See 29 U.S.C. § 2104(5).

       35.     Moreover, Defendant’s violations of the WARN Act were not in good faith, and

Defendant had no reasonable grounds for believing that the plant closing or mass layoff it ordered

was not in violation of the notice requirements at 29 U.S.C. § 2102.




                                                 7
  Case 23-17436       Doc 22     Filed 01/22/24 Entered 01/22/24 11:23:54             Desc Main
                                  Document     Page 8 of 11



               VIOLATIONS OF THE ILLINOIS WARN ACT, 820 ILCS 65
                                        COUNT II
                                  (Illinois WARN Act)
                    (On behalf of Plaintiff and those similarly situated)

        36.    Plaintiff re-alleges and incorporates all preceding paragraphs as if set forth in full

here.

        37.    Defendant is an “employer” within the meaning of the WARN Act, 820 ILCS

65/5(c).

        38.    Plaintiff and those they seek to represent were at all relevant times “affected

employees” within the meaning of the Illinois WARN Act, 820 ILCS 65/5(a).

        39.    The December 17, 2023, permanent layoffs of at least 141 employees at the Batvia

facilities resulted in “employment losses” as defined in 820 ILCS 65/5(b)(1).

        40.    For purposes of 820 ILCS 65/5(d), the Batvia facilities, together, constitute a single

site of employment in that each employee’s facility was the location to which relevant employees

were assigned as their home base, the place from which their work was assigned, and the place to

which they reported for work.

        41.    The WARN Act requires employers to provide 60-days’ notice of any plant closing

or mass layoff “(1) affected employees and representatives of affected employees; and (2) the

Department of Commerce and Economic. 820 ILCS 65/10(a)(1)-(2).

        42.    On information and belief, prior to December 17, 2023, Defendant did not give any

written notice of the plant closing and/or mass layoff to any “affected employee,” including

Plaintiff and those they seek to represent, as that term is defined in 2820 ILCS 65/5(a). Nor upon

information and belief did Defendant give any prior written notice to the Department of Commerce

and Economic Opportunity, or to the chief elected official of the local government within which

                                                 8
  Case 23-17436       Doc 22    Filed 01/22/24 Entered 01/22/24 11:23:54            Desc Main
                                 Document     Page 9 of 11



the mass layoff was ordered. Rather, Defendant waited after announcing the mass layoffs already

occurred to do so.

       43.     Defendant violated the Illinois WARN Act by failing to give timely written notice

of the mass layoff as required by 820 ILCS 65/10, which began on or about December 17, 2023.

       44.     Moreover, Defendant’s violations of the WARN Act were not in good faith, and

Defendant had no reasonable grounds for ignoring the notice requirements at 820 ILCS 65/10.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff pray for the following relief:

       1.      Certification of the Class as a Class Action pursuant to Federal Rule of Civil

Procedure 23(b), and designation of Plaintiff as a representative of the Class and his counsel of

record as Class Counsel.

       2.      A declaration that Defendant has violated the WARN Act;

       3.      A declaration that Defendant has violated the Illinois WARN Act;

       4.      A first priority administrative expense claim against Defendant pursuant to 11

U.S.C. § 503(b)(1)(A) in favor of the Plaintiff and the other similarly-situated former employees

equal to the sum of their: unpaid wages, salary, commissions, bonuses, accrued holiday pay,

accrued vacation pay, pension and 401(k) contributions and other COBRA benefits, for 60 days,

that would have been covered and paid under the then-applicable employee benefits had that

coverage continued for that period, all determined in accordance with the federal or Illinois WARN

Act, or alternatively, determining that the first $15,150 of the WARN Act claims of the Plaintiff

and each of the other similarly-situated former employees are entitled to priority status under 11

U.S.C. § 507(a)(4)-(5), and the remainder is a general unsecured claim;


                                                9
  Case 23-17436       Doc 22     Filed 01/22/24 Entered 01/22/24 11:23:54           Desc Main
                                 Document      Page 10 of 11



       5.      A judgment against Defendant and in favor of Plaintiff and those they seek to

represent for back pay to the fullest extent permitted by the WARN Act, 29 U.S.C. § 2104(a)(1)(A)

and the Illinois WARN Act, 820 ILCS 65/35.

       6.      A judgment against Defendant and in favor of Plaintiff and those they seeks to

represent for the loss of benefits, including, but not limited to, medical expenses incurred by

Plaintiff and those they seek to represent during the employment loss, to the fullest extent

allowable under the WARN Act, 29 U.S.C. § 2104(a)(1)(B) and the Illinois WARN Act, 820 ILCS

65/35(a)(2).

       7.      A finding that Defendant’s violations of the WARN Act and Illinois WARN Act

were and are willful, not in good faith, and that Defendant had no reasonable grounds for believing

that its mass layoff was not in violation of the notice requirements of the WARN Act, 29 U.S.C.

§ 2102 and the Illinois Warn Act, 820 ILCS 65/10.

       8.      A judgment against Defendant and in favor of Plaintiff and those they seek to

represent for litigation costs, expenses, attorney’s fees to the fullest extent permitted under the

WARN Act, 29 U.S.C. § 2104(a)(6), and for discretionary costs pursuant to Federal Rule of Civil

Procedure 54(d);

       9.      A judgment against Defendant for civil penalties to the fullest extent allowable

under the WARN Act, 29 U.S.C. § 2104(a)(3) and the Illinois WARN Act 820 ILCS 65/35; and,

       10.     Such other and further relief as this Court deems just and proper and allowed under

the WARN Act and the Illinois WARN Act.

       This ___ day of January 2024.

                                             Respectfully submitted,


                                                10
Case 23-17436   Doc 22   Filed 01/22/24 Entered 01/22/24 11:23:54        Desc Main
                         Document      Page 11 of 11



                                   By: /s/ Samuel J. Strauss
                                   Samuel J. Strauss (Ill. Bar No. 6340331)
                                   Raina C. Borrelli*
                                   TURKE & STRAUSS LLP
                                   613 Williamson St., Suite 201
                                   Madison, WI 53703
                                   T: (608) 237-1775
                                   F: (608) 509-4423
                                   sam@turkestrauss.com
                                   raina@turkestrauss.com


                                   J. Gerard Stranch, IV*
                                   Michael C. Iadevaia*
                                   STRANCH, JENNINGS, & GARVEY, PLLC
                                   223 Rosa Parks Ave. Suite 200
                                   Nashville, TN 37203
                                   Telephone: 615/254-8801
                                   Facsimile: 615/255-5419
                                   gstranch@stranchlaw.com
                                   miadevaia@stranchlaw.com


                                   Lynn A. Toops*
                                   Amina A. Thomas*
                                   COHEN & MALAD, LLP
                                   One Indiana Square, Suite 1400
                                   Indianapolis, Indiana 46204
                                   (317) 636-6481
                                   ltoops@cohenandmalad.com
                                   athomas@cohenandmalad.com


                                   * Pro Hac Vice applications to be submitted
                                   Counsel for Plaintiff and the Proposed
                                   Class




                                     11
